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                                        United States District Court
                                        Eastern District of California
         UNITED STATES OF AMERICA                                  JUDGMENT IN A CRIMINAL CASE
                    v.
                                                                   Case Number:         6:15-MJ-1 MJS
                    John Lucas                                                        Megan Hopkins
                                                                   Defendant’s Attorney

THE DEFENDANT:

[✔]     pleaded guilty to count 1, 5, & 7
[ ]     pleaded nolo contendere to counts(s)       which was accepted by the court.
[ ]     was found guilty on count(s)     after a plea of not guilty.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offense(s):
                                                                                    Date Offense              Count
Title & Section                  Nature of Offense                                  Concluded                 Number(s)
See attachment "A".




        The defendant is sentenced as provided in pages 2 through 3 of this judgment. The sentence is imposed pursuant
to the Sentencing Reform Act of 1984.

[ ]     The defendant has been found not guilty on counts(s)              and is discharged as to such count(s).

[✔]     Count(s) remaining are dismissed on the motion of the United States.

[ ]     Indictment is to be dismissed by District Court on motion of the United States.

[ ]     Appeal rights given.                      [✔]     Appeal rights waived.

         IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30 days
of any change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by
this judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of
material changes in economic circumstances.

                                                                                          5/5/2015
                                                                            Date of Imposition of Judgment


                                                                                /s/ Michael J. Seng
                                                                              Signature of Judicial Officer

                                                                   Michael J. Seng , United States Magistrate Judge
                                                                            Name & Title of Judicial Officer
                                                                                      5/13/2015
                                                                                        Date
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DEFENDANT:
               John Lucas

                            TERMS OF UNSUPERVISED PROBATION

The Defendant is placed on     36       months of Unsupervised Probation. During that period of
probation the defendant must comply with the following conditions imposed by this Court:



  ✔ The defendant shall obey all laws, local, state and federal.
  ✔ The defendant shall advise the Court and Government Officer through Counsel, if represented,
      within seven days of being cited or arrested for any alleged violation of law.

      The defendant shall abstain from the use or possession of alcohol and not frequent
      establishments where the primary business is sale of alcohol.

      The defendant shall abstain for the use or possession of any controlled substance unless
      prescribed for defendant’s use by a California Licensed Medical Doctor.

      The defendant shall not frequent places where controlled substances are illegally sold, used,
      distributed or administered.

      The defendant shall attend      AA or      NA          time(s) weekly for months of probation
      and file sworn proof of attendance to the Court and Government Officer, through Counsel, if
      represented.

      The defendant shall not operate a motor vehicle with any detectable amount of alcohol in
      defendant’s system.

      The defendant shall not refuse to or fail to complete a chemical test to determine blood alcohol
      content, if requested by a Law Enforcement Officer


      The defendant shall attend and complete a California Department of Motor Vehicle program for
                                   .

      Within         months of the date of this order, the defendant shall perform        hours of
      community service at a non-profit organization and file sworn proof of completion to the Court
      and Government Officer through Counsel, if represented.

  ✔    Dft sentenced to 36 months unsupervised probation with 30 days custody (suspended)
       if defendant in compliance with terms of his sentence; perform 240 hours community
       service at a non-profit organization with proof of completion to be provided; report for
       post-plea booking. Review Hearing set for 5/3/2016 at 10:00 AM.
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DEFENDANT:
                   John Lucas

                                  CRIMINAL MONETARY PENALTIES

    The defendant must pay the total criminal monetary penalties under the Schedule of Payments

             Assessment                         Fine                      Restitution
Totals:     $ 30.00

[ ] The defendant must make restitution to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately
     proportioned payment, unless specified otherwise in the priority order or percentage payment
     column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
     before the United States is paid.


     Name of Payee                                                     Total Loss




                                             SCHEDULE OF PAYMENTS


Total Amount of $ 30.00                   shall be paid within        30 days            OR payments of $

per month, commencing                                           and due on the end                of each month until

PAID IN FULL-note late payments could be subject to late/delinquent charges imposed by C.V.B.

Payments must be made by Check or Money Order, payable to: Clerk, U.S.D.C. and mailed to (check one):

          CENTRAL VIOLATIONS BUREAU
          PO Box 71363
                                                           CLERK U.S.D.C.
                                                           501 "I" St., #4-200
                                                                                          ✔ CLERK  U.S.D.C
                                                                                            2500 Tulare St., R m 1501
          Philadelphia, PA 19176-1363                      Sacramento, CA 95814               Fresno, CA 93721
          1-800-827-2982

Your check or money order must indicate your name and citation/case number shown above to ensure your account is credited for
payment received




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                                             ATTACHMENT A


Title & Section         Nature of Offense                   Date Offense Concluded   Count Number(s)


18 USC 13                Contact victim 1 with intent       11/6/2014                1
(assimilating CPC        to annoy via telephone, and used
653m(a))
                         obscene language




 18 USC 13               Contact victim 2 with intent       11/6/2014                5
 (assimilating CPC       to annoy via telephone, and used
 653m(a))                obscene language




18 USC 13                Contact victim 3 with intent       11/6/2014                7
(assimilating CPC        to annoy via telephone, and used
653m(a))                 obscene language
